

Dotson v Miguel (2020 NY Slip Op 00750)





Dotson v Miguel


2020 NY Slip Op 00750


Decided on January 31, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 31, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, CURRAN, AND TROUTMAN, JJ.


1091 CA 18-02323

[*1]SONIA DOTSON, PLAINTIFF-RESPONDENT,
vGARY MIGUEL, CHIEF OF POLICE FOR CITY OF SYRACUSE AND CITY OF SYRACUSE, DEFENDANTS-APPELLANTS. (APPEAL NO. 3.) 






HANCOCK ESTABROOK, LLP, SYRACUSE (JANET D. CALLAHAN OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
BOSMAN LAW FIRM, LLC, BLOSSVALE (A.J. BOSMAN OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Anthony J. Paris, J.), entered September 12, 2018. The order, among other things, denied defendants' motion seeking to vacate the court's order entered April 30, 2018 awarding plaintiff attorney fees. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on January 3 and 21, 2020,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: January 31, 2020
Mark W. Bennett
Clerk of the Court








